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                                 EXHIBIT A

                      Certification of Robert D. Gordon
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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


    In regarding:                                             PROMESA
                                                              Title III
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO                               No. 17 BK 3283-LTS
    RICO,
                                                              (Jointly Administered)
              as representative of

    THE COMMONWEALTH OF PUERTO RICO,
    et al.

                             Debtors.9


          VERIFIED CERTIFICATION OF ROBERT D. GORDON IN SUPPORT
          OF THE NINTH INTERIM APPLICATION OF JENNER & BLOCK LLP
               FOR ALLOWANCE OF COMPENSATION FOR SERVICES
          RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS
              COUNSEL TO THE OFFICIAL COMMITTEE OF RETIRED
             EMPLOYEES OF THE COMMONWEALTH OF PUERTO RICO
                 FROM FEBRUARY 1, 2020 THROUGH MAY 31, 2020

         I, Robert D. Gordon, have the responsibility for ensuring that the Application complies

with the UST Guidelines, and I hereby certify the following:

         1.        I am a partner in the firm of Jenner & Block LLP (“Jenner”), and have been duly

admitted to practice law in the States of Illinois, Michigan, and New York.



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  The Debtors in these jointly-administered PROMESA title III cases, along with each Debtor’s respective
title III case number listed as a bankruptcy case number due to software limitations and the last four (4)
digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto
Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
Sales Tax Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID:
8474); (iii) Puerto Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS)
(Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
ID: 9686); (v) Puerto Rico Electric and Power Authority (Bankruptcy Case No. 17 BK 4780) (Last Four
Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (Bankruptcy Case No. 19
BK 5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
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       2.      I am the lead attorney from Jenner representing the Retiree Committee in

connection with the above-captioned Title III Case. I am authorized to submit this certification in

support of the Ninth Application of Jenner & Block LLP for Allowance of Compensation for

Services Rendered and Reimbursement of Expenses Incurred as Attorneys to the Official

Committee of Retired Employees of the Commonwealth of Puerto Rico from February 1, 2020

through May 31, 2020 (the “Application”). Except as otherwise noted, I have personal knowledge

of the matters set forth herein.

       3.      I have read the Application. The statements contained in the Application are true

and correct according to the best of my knowledge, information, and belief.

       4.      To the best of my knowledge, information, and belief, formed after reasonable

inquiry, the fees and disbursements sought in the Application are permissible under the Puerto

Rico Oversight, Management, and Economic Stability Act (“PROMESA”), 48 U.S.C. §§ 2101–

2241; the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); the Bankruptcy

Rules for the United States Bankruptcy Court for the District of Puerto Rico (the “Local Rules”);

the Court’s Order Authorizing the Employment of Jenner & Block LLP as Attorneys for the

Committee of Retired Employees [Dkt. No. 1002]; the Court’s Second Amended Order Setting

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals [Dkt. No.

3269]; and the United States Trustee’s Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Large Chapter 11

Cases Effective as of November 1, 2013.

       5.      The fees and disbursements sought in the Application are billed at rates Jenner

customarily employs and Jenner clients generally accept in matters of this nature.
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       6.      None of the professionals seeking compensation varied their hourly rate based on

their geographic location.

       7.      Jenner is not seeking compensation for this Interim Period specifically for time

spent reviewing or revising time records or preparing, reviewing, or revising invoices.

       8.      Jenner does not make a profit on costs or expenses for which it seeks

reimbursement, whether the service is performed by Jenner in-house or through a third party.

       9.      In accordance with Rule 2016(a) of the Bankruptcy Rules and 11 U.S.C. § 504, no

agreement or understanding exists between Jenner and any other person for the sharing of

compensation to be received in connection with the Title III Cases except as authorized by

PROMESA, the Bankruptcy Rules, and the Local Rules.

       10.     All services for which compensation is sought were professional services rendered

to the Retiree Committee and not on behalf of any other person.

       11.     The Retiree Committee was provided with a copy of the Application before it was

filed with the Court and does not object to the relief requested therein.

       12.     On an annual basis, Jenner evaluates the hourly rates charged by its billing

professionals to determine whether those rates should be increased based on a timekeepers’

developing skills and experience, and consistent with changes in market hourly rates. In making

this evaluation, Jenner obtains third party consultant information to assist it in determining an

appropriate rate schedule for its billing professionals. The 2020 rates charged by the billing

professionals working on these Title III cases were set through this process, and are consistent,

both in amount and timing, with rates for Jenner timekeepers not working on these Title III cases.

       I certify under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief formed after reasonable inquiry.
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Executed on July 15, 2020

                                    /s/ Robert Gordon
                                    Robert D. Gordon
